



 





THIS OPINION HAS NO
  PRECEDENTIAL VALUE.&nbsp; IT SHOULD NOT BE CITED OR RELIED ON AS PRECEDENT IN ANY
  PROCEEDING EXCEPT AS PROVIDED BY RULE 239(d)(2), SCACR.
THE STATE OF SOUTH CAROLINA
In The Court of Appeals

	
		
			
				South Carolina
      Department of Social Services, Respondent,
			
		
	

v.

	
		
			
				Sandra B.,
      Marcos M., and John Doe, Defendants,
				Of whom Sandra
      B. is the Appellant.
				In
  the Interest of M.M. a minor under the age of 18.
			
		
	


Appeal From Berkeley County
&nbsp;Jack Alan Landis, Family Court Judge
Unpublished Opinion No. 2009-UP-146
Submitted March 2, 2009  Filed March 17,
  2009&nbsp;&nbsp;&nbsp; 
AFFIRMED


	
		
			
				Robin Lilley Jackson, of Charleston, for Appellant.
				Paul C. White, of Moncks Corner, for Respondent.
				Tammie Lynn Hoffman, of North Charleston, for Guardian Ad Litem.
			
		
	

PER CURIAM: Sandra
  B. appeals from the family courts order
  terminating her parental rights to her minor child.&nbsp; See S.C. Code Ann. § 63-4-2570 (Supp. 2008).&nbsp; Upon a thorough review
  of the record and the family courts findings of fact and conclusions of law,
  pursuant to Ex Parte Cauthen, 291 S.C. 465, 354 S.E.2d 381 (1987), we
  find no meritorious issues warrant briefing.&nbsp; Accordingly, we affirm the family
  courts ruling.&nbsp;&nbsp; 
AFFIRMED.[1] 
HEARN, C.J., CURETON, A.J., and GOOLSBY, A.J.


[1] We decide this case without oral argument pursuant to
  Rule 215, SCACR.

